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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


MANZOOR JAGHOORI,

                             Petitioner,

           v.                                       CASE NO. 21-3229-SAC

DON LANGFORD,


                             Respondent.


                          MEMORANDUM AND ORDER



     This matter is a petition for writ of habeas corpus filed under

28 U.S.C. § 2254. The Court has reviewed Petitioner’s motion to

proceed in forma pauperis and the supporting documents (Doc. 3) and

will deny the motion. Petitioner is therefore directed to pay the

$5.00 statutory filing fee on or before November 29, 2021.

     On October 26, 2021, Petitioner filed his amended petition for

writ of habeas corpus and attachments. (Doc. 7.) The Court has

examined the petition and finds that:

     1. Petitioner is presently a prisoner in the custody of the

        State of Kansas; and

     2. Petitioner demands his release from such custody, and as

        grounds therefore alleges that he is being deprived of his

        liberty in violation of his rights under the Constitution

        of the United States, and he claims that he has exhausted
        all remedies afforded by the courts of the State of Kansas.

     IT IS THEREFORE ORDERED that Petitioner’s motion for leave to

proceed in forma pauperis (Doc. 3) is denied. Petitioner is directed
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to pay the statutory filing fee of $5.00 on or before November 29,

2021.

    IT IS FURTHER ORDERED:

    1. That Respondent is hereby required to show cause within

        thirty (30) days from the date of this order why the writ

        should not be granted.

    2. That the response should present:

          a. The necessity for an evidentiary hearing on each of

             the grounds alleged in Petitioner’s pleading; and

          b. An analysis of each of said grounds and any cases and

             supporting   documents    relied   upon    by   Respondent    in

             opposition to the same.

    Respondent shall cause to be forwarded to this court for

    examination and review the following:

          The   records   and   transcripts,    if     available,   of    the

    criminal proceedings complained of by Petitioner; if a direct

    appeal of the judgment and sentence of the trial court was

    taken by Petitioner, Respondent shall furnish the records, or
    copies thereof, of the appeal proceedings.

    3. Upon the termination of the proceedings herein, the clerk

        of this Court will return to the clerk of the proper state

        court all state court records and transcripts.

    4. That Petitioner be granted thirty (30) days after receipt

        by him of a copy of Respondent’s answer and return to file

        a traverse thereto, admitting or denying, under oath, all

        factual allegations therein contained.
    5. That the clerk of this Court then return this file to the

        undersigned judge for such other and further proceedings as
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    may   be   appropriate;   and   that   the   clerk   of    this   Court

    transmit copies of this order to Petitioner and to the

    office of the Attorney General for the State of Kansas.


 IT IS SO ORDERED.

 DATED:   This 27th day of October, 2021, at Topeka, Kansas.



                              S/ Sam A. Crow

                              SAM A. CROW
                              U.S. Senior District Judge
